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                            No. 2024-1061

      United States Court of Appeals
          for the Federal Circuit
                            ____________

     ALLERGAN USA, INC., ALLERGAN HOLDINGS UNLIMITED CO.,
        ALLERGAN PHARMACEUTICALS INTERNATIONAL LTD.,
                 JANSSEN PHARMACEUTICA NV,
                    EDEN BIODESIGN, LLC,
                    PLAINTIFFS-APPELLANTS

                                   v.
                 MSN LABORATORIES PRIVATE LTD.,
                  MSN PHARMACEUTICALS, INC.,
             SUN PHARMACEUTICAL INDUSTRIES LIMITED,
                     DEFENDANTS-APPELLEES
                         ____________
         APPEAL FROM THE UNITED STATES DISTRICT COURT FOR THE
  DISTRICT OF DELAWARE, CASE NOS. 1:19-CV-01727-RGA, 1:21-CV-01064-RGA,
     1:21-CV-01065-RGA, 1:20-CV-01479-RGA, JUDGE RICHARD G. ANDREWS
                            ____________
           BRIEF FOR DEFENDANT-APPELLEE
      SUN PHARMACEUTICAL INDUSTRIES LIMITED
                     ____________


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          Case: 24-1061    Document: 19    Page: 2     Filed: 01/29/2024




          Claim 40 of U.S. Patent No. 7,741,356 (Appx14483-14484)
40. A compound selected from the group consisting of
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              Claim 7 of U.S. Patent No. 11,007,179 (Appx96-97)

1. An abuse-deterrent, mono-phasic pharmaceutical tablet comprising:

      about 75 mg of 5-({[(2S)-2-Amino-3-(4-carbamoyl-2,6-dimethyl-phenyl)-
      propionyl]-[(1S)-1-(4-phenyl-1H-imidazol-2-yl)-ethyl]-amino}-methyl)-2-
      methoxy-benzoic acid,
      about 60-80% by weight silicified microcrystalline cellulose;
      crospovidone;
      about 5-15% by weight mannitol; and
      optionally, a glidant and/or lubricant.

3. The tablet of claim 1, comprising about 65-75% by weight silicified microcrys-
talline cellulose, and about 7.5-12.5% by weight mannitol.

4. The tablet of claim 3, comprising about 3-7% by weight crospovidone and a
lubricant.

5. The tablet of claim 4, wherein the lubricant is magnesium stearate present in an
amount of about 0.55-0.95% by weight.
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6. The tablet of claim 5, comprising:

      about 75 mg of 5-({[(2S)-2-Amino-3-(4-carbamoyl-2,6-dimethyl-phenyl)-
      propionyl]-[(1S)-1-(4-phenyl-1H-imidazol-2-yl)-ethyl]-amino}-methyl)-2-
      methoxy-benzoic acid;

      about 390 mg-450 mg of silicified microcrystalline cellulose;

      about 18 mg-42 mg crospovidone;
      about 45 mg-75 mg of mannitol; and

      about 3.3 mg-5.7 mg of magnesium stearate.
7. The tablet of claim 6, comprising:
      about 75 mg of 5-({[(2S)-2-Amino-3-(4-carbamoyl-2,6-dimethyl-phenyl)-
      propinyl]-[(1S)-1-(4-phenyl-1H-imidazol-2-yl)-ethyl]-amino}-methyl)-2-
      methoxy-benzoic acid;
      about 390 mg-450 mg of silicified microcrystalline cellulose;

      about 30 mg of crospovidone;
      about 60 mg of mannitol; and
      about 4.5 mg of magnesium stearate.



            Claim 26 of U.S. Patent No. 11,311,516 (Appx205-206)

1. A pharmaceutical tablet comprising:
      about 75 mg of 5-({[(2S)-2-Amino-3-(4-carbamoyl-2,6-dimethyl-phenyl)-
      propionyl]-[(1S)-1-(4-phenyl-1H-imidazol-2-yl)-ethyl]-amino}-methyl)-2-
      methoxy-benzoic acid,
      about 60-80% by weight filler;

      about 2-8% by weight disintegrant; and

      about 10% by weight mannitol.
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26. The pharmaceutical tablet of claim 1, comprising:

      about 75 mg of 5-({[(2S)-2-Amino-3-(4-carbamoyl-2,6-dimethyl-phenyl)-
      propionyl]-[(1S)-1-(4-phenyl-1H-imidazol-2-yl)-ethyl]-amino}-methyl)-2-
      methoxy-benzoic acid;

      about 390 mg-450 mg silicified microcrystalline cellulose;

      about 30 mg crospovidone;
      about 60 mg mannitol;

      about 4.5 mg magnesium stearate; and
      about 18 mg of a film coating,
      wherein the nominal weight of the tablet without the film coating is about
      600 mg and the total weight of the tablet is about 618 mg.
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                           CERTIFICATE OF INTEREST

        Counsel for Defendant-Appellee Sun Pharmaceutical Industries Limited

certifies the following:

   1.      Represented Entities. Fed. Cir. R. 47.4(a)(1): “The full name of every
           entity represented in the case by the counsel filing the certificate.”

              Sun Pharmaceutical Industries Limited

   2.      Real Party in Interest. Fed. Cir. R. 47.4(a)(2): “For each entity, the
           name of every real party in interest, if that entity is not the real party in
           interest.”

              N/A

   3.      Parent Corporations and Stockholders. Fed. Cir. R. 47.4(a)(3): “For
           each entity, that entity’s parent corporation(s) and every publicly held
           corporation that owns ten percent (10%) or more of its stock.”

              N/A

   4.      Legal Representatives. Fed. Cir. R. 47.4(a)(4): “The names of all law
           firms, partners, and associates that have not entered an appearance in the
           appeal, and (A) appeared for the entity in the lower tribunal; or (B) are
           expected to appear for the entity in this court.”

              Winston & Strawn LLP: Kevin J. Boyle; Annie R. Steiner

              Heyman Enerio Gattuso & Hirzel LLP: Dominick T. Gattuso

   5.      Related Cases. Fed. Cir. R. 47.4(a)(5): “An indication as to whether
           there are any related or prior cases, other than the originating case
           number(s), that meet the criteria under Federal Circuit Rule 47.5.”

              No.

   6.      Organizational Victims and Bankruptcy Cases. Fed. Cir. R.
           47.4(a)(6): “All information required by Federal Rule of Appellate
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        Procedure 26.1(b) and (c) that identifies organizational victims in
        criminal cases and debtors and trustees in bankruptcy cases.”

           N/A


Dated January 29, 2024                      /s/ Charles B. Klein
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                     GLOSSARY OF ABBREVIATIONS

’011 patent       U.S. Patent No. 8,344,011
’036 patent       U.S. Patent No. 6,862,036

’179 patent       U.S. Patent No. 11,007,179 (Appx73-101)

’356 patent       U.S. Patent No. 7,741,356 (Appx14407-14485)
’516 patent       U.S. Patent No. 11,311,516 (Appx183-209)

’587 patent       U.S. Patent No. 9,675,587 (Appx210-231)

’626 patent       U.S. Patent No. 6,452,626
’632 patent       U.S. Patent No. 10,188,632 (Appx48-72)
’709 patent       U.S. Patent No. 8,609,709

Allergan          Plaintiffs-Appellants Allergan USA, Inc., Allergan Holdings
                  Unlimited Co., Allergan Pharmaceuticals International Ltd.,
                  Janssen Pharmaceutica NV, and Eden Biodesign, LLC
ANDA              abbreviated new drug application
ODP               obviousness-type double patenting
POSA              person of ordinary skill in the art

PTA               patent term adjustment under 35 U.S.C. § 154(b)

PTE               patent term extension under 35 U.S.C. § 156
PTO               U.S. Patent and Trademark Office

SMCC              silicified microcrystalline cellulose

Sun               Defendant-Appellee Sun Pharmaceutical Industries Limited
URAA              Uruguay Rounds Agreement Act




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                      STATEMENT OF RELATED CASES

      No other appeal has been taken in this case, and counsel for Sun is not aware

of any other case pending in any court or agency that will directly affect, or be

directly affected by, this Court’s decision in this appeal.




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                                 INTRODUCTION

      Allergan’s brief fails to show reversible error. There are five patents on

appeal: U.S. Patent No. 7,741,356 (the “’356 patent”) covers the compound

eluxadoline. The remaining four patents cover formulated tablets of eluxadoline,

which the parties agree are represented by claims in U.S. Patent Nos. 11,007,179

(the “’179 patent”) and 11,311,516 (the “’516 patent”). For the ’356 patent, the

district court applied this Court’s precedent to the undisputed facts to find the sole

asserted claim invalid for obviousness-type double patenting (“ODP”). For the

remaining patents, the district court found, as a factual matter, that the specification

fails to provide written-description support for the asserted claims under 35 U.S.C.

§ 112. Allergan provides no basis to disturb the judgment.

      Double patenting. It is undisputed that (1) the ’356 patent expires later than

two commonly owned patents due to a patent term adjustment (“PTA”); and (2)

certain claims in those earlier-expiring patents and claim 40 of the ’356 patent “are

not patentably distinct from each other.” Appx44-45. These undisputed facts

present a textbook case of ODP, which embodies “a bedrock principle of our

patent system that when a patent expires, the public is free to use not only the same

invention claimed in the expired patent but also obvious or patentably indistinct

modifications of that invention.” Gilead Scis., Inc. v. Natco Pharma Ltd., 753 F.3d

1208, 1214 (Fed. Cir. 2014). “[T]hat principle is violated when a patent expires



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and the public is nevertheless barred from practicing obvious modifications of the

invention claimed in that patent because the inventor holds another later-expiring

patent with claims for obvious modifications of the invention.” Id.

      Allergan’s efforts to avoid that result lack merit. Allergan argues the ’356

patent is immune from ODP as the “first-filed, first-issued patent” in its family,

which purportedly “cannot extend the term of later-filed, later-issued continuation

patents.” Br. 1. But that argument fails under this Court’s caselaw, including

Gilead. There, this Court rejected the argument that an earlier-issued patent “in no

way extends the term of the exclusivity for” a later-issued reference patent. 753

F.3d at 1214. As this Court held, it is of “little import” that a challenged patent

“issues first” where, as here, it “does not expire first.” Id. at 1214-15. The only

“date that really matter[s]” is “patent expiration”—not filing or issue dates—so

“patent expiration dates [] should control” whether patents qualify as ODP

references. 753 F.3d at 1215.

      Allergan relies heavily on the unique situation in Novartis Pharmaceuticals

Corp. v. Breckenridge Pharmaceutical Inc., 909 F.3d 1355 (Fed. Cir. 2018), where

this Court held that a patent filed after an “intervening change in law by Congress

defining a patent’s term” in 1994 could not invalidate a patent filed before the law

changed, which would conflict with a specific “transition statute” that guaranteed

applicants “the greater of” two possible terms during the transitional period. Id. at


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1357, 1366. That holding is irrelevant here, where there is no intervening change

in law that precludes ODP. This Court “limit[ed] [its] opinion [in Breckenridge] to

the specific facts of th[at] case” (id. at 1366 n.3), and Allergan cannot broaden its

holding to avoid ODP here.

      This case is analogous to In re Cellect, 81 F.4th 1216 (Fed. Cir. 2023),

where this Court relied on a later-filed, later-issued continuation patent to

invalidate an earlier-filed, earlier-issued patent expiring later due to PTA under 35

U.S.C. § 154(b), which is the same reason the ’356 patent expires later than the

ODP reference patents here. Id. at 1220, 1229; Appx44-45. The district court

correctly found that In re Cellect is dispositive and forecloses Allergan’s statutory

and “equitable” arguments. Appx45-46.

      Written description. As to the formulation patents, “[w]hether a claim

meets the written-description requirement is a question of fact, which this court

reviews for clear error”—a standard that “requires courts to exercise deference.”

Biogen Int’l GMBH v. Mylan Pharms. Inc., 18 F.4th 1333, 1340-41 (Fed. Cir.

2021). “[T]he purpose of the written description requirement is to ensure that the

scope of the right to exclude, as set forth in the claims, does not overreach the

scope of the inventor’s contribution to the field of art as described in the patent

specification.” Ariad Pharm., Inc. v. Eli Lilly & Co., 598 F.3d 1336, 1353-54

(Fed. Cir. 2010) (quotation omitted). The claims here represent classic overreach.


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      In its original complaint, Allergan asserted older, related patents with claims

limited to formulations requiring a specific glidant, colloidal silica. Appx301;

Appx230-231; Appx70. The district court construed this glidant to be “distinct

from” another recited ingredient. Appx2322-2323. Under that construction

(which Allergan did not appeal), Sun’s accused product could not infringe—

Allergan thus dismissed the originally asserted patents on the eve of trial.

Appx4797. After claim construction, however, Allergan prosecuted new and

amended claims in continuation applications that either removed or made optional

the claimed glidant, broadening their scope to cover formulations (like Sun’s)

without a glidant. Appx9223; Appx11593. Those applications became the ’516

and ’179 patents.

      But the named inventor never invented—and thus never described—

eluxadoline formulations without a glidant. This Court’s holding in ICU Medical,

Inc. v. Alaris Medical Systems, Inc. is on point. There, as here, the plaintiff

initially obtained claims with a specific limitation—a “spike”—that the defendant

did not infringe. 558 F.3d 1368, 1374-76, 1380 (Fed. Cir. 2009). The plaintiff

filed continuation applications that omitted the “spike” limitation, resulting in

“spikeless (or spike-optional) claims.” Id. at 1372, 1377. The “spikeless claims

[we]re broader than the [original] spike claims” because they covered devices “that

operate with a spike and those that operate without a spike.” Id. at 1378. “But the


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specification describe[d] only medical valves with spikes.” Id. Because “a person

of skill in the art [(‘POSA’)] would not understand the inventor … to have

invented a spikeless medical valve,” the claims were invalid. Id.

      This case is no different. The district court found, as a factual matter, that

“[t]he patent specification does not disclose that the patentee possessed a

formulation of eluxadoline that either lacks a glidant or signaled to a POSA that

the inclusion of a glidant in those formulations is optional.” Appx17. “Just as

spikeless claims in ICU Med[ical] lacked adequate written description because the

specification failed to disclose a spikeless valve, the asserted claims here lack

written description because the specification fails to disclose a formulation that

does not have a glidant or where a glidant would be understood as optional.”

Appx17-18. As discussed below, the specification amply supports these factual

findings, which are not clearly erroneous.

      Even if Allergan could show any harmful error (it cannot), the judgment is

supported by alternative grounds for affirmance, or at least remand—Allergan has

unclean hands in asserting litigation-inspired, glidant-optional claims that the

inventor admitted he never invented, and the claims are invalid as obvious.

                            STATEMENT OF ISSUES

      I.     Whether Allergan has shown reversible error in the district court’s

finding that claim 40 of the ’356 patent is invalid for ODP.



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      II.     Whether Allergan has shown clear and reversible error in the district

court’s factual findings that representative claim 26 of the ’516 patent and

representative claim 7 of the ’179 patent lack written description.

      III.    Alternatively, whether the judgment on the formulation patents is

supported by (1) the inventor’s admissions that he did not invent the claimed

subject matter; (2) Allergan’s unclean hands in obtaining and asserting these

patents; or (3) obviousness (which would require a remand).

                             STATEMENT OF THE CASE
      A.      Multiple patents with different expiration dates claim eluxadoline.

      Asserted claim 40 of the ’356 patent covers eluxadoline. Appx45. The ’356

patent is commonly owned with two unasserted patents that also cover eluxadoline:

Claim 33 of U.S. Patent No. 8,344,011 (the “’011 patent”) covers a method of

administering eluxadoline, and claim 5 of U.S. Patent No. 8,609,709 (the “’709

patent”) covers eluxadoline. Appx44-45. The district court found, and the parties

do not dispute, that these claims are patentably indistinct. Appx45.

      The ’356 patent received 467 days of PTA under 35 U.S.C. § 154(b), but the

’011 and ’709 patents received no PTA. Appx44. Thus, after adding PTA, the

’356 patent expires after the ’011 and ’709 patents. Id.




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      B.     Allergan originally asserted formulation patents whose claims
             required a glidant, consistent with their limited disclosure.

      In addition to the ’356 patent, Allergan asserted four patents at trial claiming

eluxadoline tablet formulations. These related patents share a specification: the

’179 and ’516 patents, and U.S. Patent Nos. 11,090,291 and 11,160,792. Appx7.

      When Allergan filed this case against Sun, the formulation patents Allergan

would eventually assert at trial did not yet exist. Instead, Allergan’s original

complaint asserted two earlier patents in the same family: U.S. Patent Nos.

9,675,587 (the “’587 patent”) and 10,188,632 (the “’632 patent”). Appx301. All

claims of these patents required a specific glidant, colloidal silica (sometimes

called colloidal silicon dioxide). Appx230-231; Appx70.

      These originally asserted claims were commensurate in scope with the

patents’ specification, which is also shared by the ’179 and ’516 patents Allergan

asserted at trial. The specification acknowledges that eluxadoline and its use to

treat irritable bowel syndrome were known. Appx53 (2:34-47). But “different

formulations” of eluxadoline “may have very different … properties.” Id. (1:41-

50). The inventors allegedly “discovered solid oral pharmaceutical formulation[s]”

with “unique” abuse-deterrent properties. Appx54. Allergan’s expert, Dr.

Berkland, testified that “[t]he only eluxadoline formulations disclosed in the

patents” are “a narrow group” of formulations comprising a “unique combination




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of ingredients in specific amounts,” with “monophasic, immediate release, and

abuse-deterrent” properties. Appx6136-6137 (421:1-422:22).

      The disclosed formulations “always ha[ve] the exact same five very specific

excipients that include … colloidal silica.” Appx5857 (142:3-9) (Gemeinhart).

These formulations are recited in Table 1 and expressly include colloidal silica as a

“[g]lidant.” Appx86 (16:30-55). The process steps for making them, disclosed in

Figure 1, require colloidal silica. Appx77; Appx5838 (123:11-22) (Gemeinhart).

And the only data to show the inventors achieved abuse-deterrent properties are

from testing the Table 1 formulations with colloidal silica. Appx87 (18:52-53);

Appx5855 (140:18-24) (Gemeinhart). Although “[t]he formulations can also

optionally include” other ingredients, a glidant is not listed as “optional[].”

Appx84 (12:38-51); Appx5833-5835 (118:12-120:2) (Gemeinhart).

      The only named inventor Allergan made available, Dr. Costello, was not

“aware of any eluxadoline formulations that [he] invented but are not included in

the claims of the ’587 patent,” which required colloidal silica. Appx5797-5798

(82:22-83:3). Any formulations he made without the specific ingredients in Table

1 were “unsuccessful,” and he could not recall making any formulations without a

glidant (i.e., colloidal silica). Appx5798-5799 (83:17-84:13). Dr. Costello “didn’t

test any other[]” formulations besides the Table 1 formulations with a glidant




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(Appx5779 (64:10-14)), and he found it “pretty unlikely” that one could predict

how formulations would perform without testing (Appx5775 (61:5-9)).

      C.     After claim construction, Allergan sought and obtained broader,
             glidant-optional claims to cover Sun’s product.
      Allergan could not prove infringement of the originally asserted claims

because Sun’s accused eluxadoline product lacks colloidal silica, or any other

glidant. Appx3754; Appx5755 (40:10-13). Allergan tried to argue that another

formulation ingredient—silicified microcrystalline cellulose (“SMCC”)—satisfied

the colloidal silica limitation. Appx2322. But the district court construed

“colloidal silica” as an ingredient “distinct from” SMCC. Appx2322-2323. This

left Allergan with no viable infringement theory for the originally asserted claims.

Appx4797.

      Allergan thus changed tactics by prosecuting broader claims in the same

patent family to cover Sun’s accused product. In March 2021, two months after

the district court’s claim construction—but eight years after filing the priority

application in 2013—Allergan amended the claims of a pending continuation

application to remove the limitation “colloidal silicon dioxide” and add the

limitation “optionally, a glidant”:




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Appx9223. This application issued as the ’179 patent. Appx73.

      Allergan never told the inventor, Dr. Costello, that it was broadening its

claims—their last communications were in 2018, before Allergan filed suit.

Appx5800-5801 (85:20-86:8) (Costello). Even after Dr. Costello’s deposition,

which Allergan did not disclose to the PTO, Allergan continued prosecuting new

patents that do not require a glidant, including the ’516 patent. Appx183.

      D.     The district court found all asserted claims invalid.
      After a three-day bench trial, the district court held the asserted claims

invalid. It was undisputed that asserted claim 40 of the ’356 patent and the

reference claims of the ’011 and ’709 patents “are not patentably distinct from each

other.” Appx45. The parties’ post-trial briefing, which occurred before this

Court’s decision in In re Cellect, focused on whether the ’356 patent was subject to

ODP given that its later expiration resulted from PTA under § 154(b).

Appx15657-15659; Appx16144; Appx16211. After this Court’s decision in In re

Cellect, the parties submitted a joint status report regarding its impact.


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Appx16228; Appx16233-16234. The district court then issued its opinion

invalidating claim 40, finding In re Cellect and Gilead dispositive. Appx44-46.

      As to the formulation patents, the parties stipulated that claim 26 of the ’516

patent and claim 7 of the ’179 patent were representative. Appx9. The district

court found that these claims, which broadly cover formulations without a glidant,

lack written description. Appx16-26. Citing both sides’ experts, the court found

“[n]one of the formulations disclosed in the patent specification of the asserted

patents are made without a glidant,” and “[a] POSA reading the patent

specification would not have understood the patentee to possess a formulation of

eluxadoline in which a glidant is optional.” Appx16.

      Alternatively, Sun argued that the asserted formulation claims are invalid as

obvious, but the district court did not reach this defense. Appx44.

                           SUMMARY OF ARGUMENT
      I.     ODP is grounded in the Patent Act, which limits applicants to “a

patent”—just one—per invention. 35 U.S.C. § 101. Here, the same patentee holds

multiple patents claiming patentably indistinct inventions that expire on different

dates, presenting a classic case of ODP. Allergan’s main argument—that the first-

filed, first-issued patent in a family is exempt from ODP—fails under binding

precedent holding that expiration dates control ODP, not filing or issue dates.

Gilead, 753 F.3d at 1215; Cellect, 81 F.4th at 1226.



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      That the ’356 patent expires later because of PTA—a statutory adjustment—

does not change the result. There is no dispute that claim 40 of the ’356 is

patentably indistinct from the reference claims of the ’011 and ’709 patents.

Exempting the ’356 patent from ODP merely because it received PTA “would, in

effect, confer on the reference claims of the [earlier-expiring] patent[s] PTA to

which they were not entitled.” In re Cellect, 81 F.4th at 1230. This Court has

rejected Allergan’s argument that a “statutorily mandated” term “cannot be cut

short” by ODP. Id. at 1227. Every patent term is mandated by statute. That PTA

is subject to terminal disclaimers under § 154(b) “is tantamount to a statutory

acknowledgement that ODP concerns can arise when PTA results in a later-

expiring claim that is patentably indistinct.” Id. at 1228.

      Allergan cannot avoid this result by arguing it “did not engage in

gamesmanship.” Id. at 1230. “[G]ood faith during prosecution does not entitle [a

patentee] to a patent term to which it otherwise is not entitled,” even if it “did not

engage in gamesmanship in obtaining a grant of PTA.” Id. Allergan’s equitable

arguments fail for this reason and others discussed below.

      II.    Allergan fails to show clear error in the district court’s factual

findings that the asserted formulation claims, represented by the ’516 and ’179

patents, lack written description. This case is like ICU Medical, where “the

specification describe[d] only medical valves with spikes,” and a POSA “would


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not understand the inventor … to have invented spikeless medical valve.” 558

F.3d at 1378. Similarly, the claims here “lack written description because the

specification fails to disclose a formulation that does not have a glidant or where a

glidant would be understood as optional.” Appx17-18.

      Contrary to Allergan’s arguments (Br. 47-51), this finding does not import a

“glidant-optional” limitation into the ’516 patent. The district court used the word

“optional” in the same way as this Court in ICU Medical, which called the claims

“spikeless (or spike-optional)” “not because they exclude … a spike but rather

because these claims do not include a spike limitation—i.e., they do not require a

spike.” 558 F.3d at 1372-73, 1377. Likewise, here, the ’516 patent does not

include a glidant limitation. Thus, it broadly covers formulations without a glidant,

which the specification fails to describe.

      The district court properly relied on expert testimony to determine how a

POSA would understand the specification’s consistent use of a glidant. Allergan’s

argument on appeal that the district court improperly relied on “extrinsic evidence”

(Br. 51-55) is incorrect. It also contradicts Allergan’s argument below, which

stressed that it would have been “wrong” for the district court to disregard

“extrinsic evidence” in the form of expert testimony, because the written

description must be “judged from the perspective of one of ordinary skill in the




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art” (Appx16116). Indeed, Allergan relied extensively on extrinsic evidence. See

id.

      III.    Even if Allergan could show any harmful error, multiple alternative

grounds support the judgment on the formulation patents:

      First, the inventor admitted he did not invent an eluxadoline formulation

without a glidant, which is an independent basis to find that he lacked possession

of—and thus could not describe—the claimed formulations.

      Second, the inventor’s admissions show that Allergan has unclean hands in

prosecuting and asserting claims to cover Sun’s glidant-free product, which

Allergan knows the inventor never invented.

      Third, any reversal on written description would require a remand to

consider Sun’s obviousness defense, which the district court did not reach.

                                   ARGUMENT
I.    The district court correctly found the sole asserted claim of the ’356
      patent invalid for ODP.
      This Court should affirm the judgment that claim 40 of the ’356 patent is

invalid for ODP because the material facts are undisputed, and the district court

correctly applied this Court’s precedent. Allergan’s arguments about filing and

issue dates, the “statutory” nature of PTA, and the “equitable” nature of ODP

retrace arguments this Court has already rejected.




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      A.     A patentee cannot have two patents with patentably indistinct
             claims that expire on different dates, regardless of when the
             patents were filed or issued.
             1.    ODP protects the public’s right to use a claimed invention
                   and its obvious variants after a patent expires.

      “While often described as a court-created doctrine, obviousness-type double

patenting is grounded in the text of the Patent Act.” AbbVie Inc. v. Mathilda &

Terence Kennedy Inst. of Rheumatology Tr., 764 F.3d 1366, 1372 (Fed. Cir. 2014).

“Section 101 reads: ‘Whoever invents or discovers any new and useful process,

machine, manufacture, or composition of matter, ... may obtain a patent therefor.’”

Id. (quoting 35 U.S.C. § 101) (alteration original). “Thus, § 101 forbids an

individual from obtaining more than one patent on the same invention, i.e., double

patenting.” Id. Although “a rejection based upon double patenting of the

obviousness type”—i.e., ODP—is not “based purely on the precise terms of the

statute,” it is nevertheless “grounded in public policy … reflected in the patent

statute.” In re Longi, 759 F.2d 887, 892 (Fed. Cir. 1985).

      “Federal courts for over a century have applied the principles of [ODP] as a

means to preserve the public’s right to use not only the exact invention claimed by

an inventor when his patent expires, but also obvious modifications of that

invention that are not patentably distinct improvements.” Gilead, 753 F.3d at

1212. “The double patenting doctrine has always been implemented to effectively

uphold that principle,” which “is violated when a patent expires and the public is


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nevertheless barred from practicing obvious modifications of the invention claimed

in that patent because the inventor holds another later-expiring patent with claims

for obvious modifications of the invention.” Id. at 1214.

      To avoid invalidity for ODP, a patentee must terminally disclaim the portion

of the later-expiring patent term that extends beyond the earlier-expiring patent.

See 35 U.S.C. § 253(b). This can occur any time before the reference patent

expires, including “after issuance of the challenged patent or during litigation, even

after a finding that the challenged patent is invalid for” ODP. Boehringer

Ingelheim Int’l GmbH v. Barr Labs., Inc., 592 F.3d 1340, 1347 (Fed. Cir. 2010).

             2.     Before the URAA, ODP was based on comparing issue dates
                    (because they dictated expiration), but not filing dates.

      Ever since the 1994 Uruguay Rounds Agreement Act (“URAA”), the

statutory patent term has been 20 years from its effective filing. Gilead, 753 F.3d

at 1211; 35 U.S.C. § 154(a)(2). Before the URAA, however, the term was 17 years

from issuance, so a patent’s “expiration date was inextricably intertwined with the

issuance date.” Gilead, 753 F.3d at 1211, 1215. That is why cases often “describe

the double patenting bar as applicable to the ‘second’ or ‘later’ issuing patent”:

Any later-expiring patent vulnerable to ODP was also, by definition, the “second”

or “later” patent. Id. at 1214-15. Thus, pre-URAA, “looking to patent issue dates

had previously served as a reliable stand-in for the date that really mattered—

patent expiration.” Id. at 1215.


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      Even pre-URAA, however, an earlier filing date did not preclude ODP. E.g.,

Miller v. Eagle Mfg. Co., 151 U.S. 186, 197 (1894) (“where two patents, showing

the same invention or device, were issued to the same party, the later one was void,

although the application for it was first filed”); In re Griswold, 365 F.2d 834,

1565-66, 1573 (CCPA 1966) (affirming rejections of earlier-filed applications over

later-issued but earlier-expiring continuation applications).

      At most, patentees could seek a more lenient standard for earlier-filed but

later-expiring claims under ODP’s “two-way” variant, which requires finding that

both the challenged “claims are not patentably distinct from the prior patent claims,

and the prior patent claims are also not patentably distinct from the [challenged]

claims.” In re Goodman, 11 F.3d 1046, 1053 (Fed. Cir. 1993). This “two-way test

is a narrow exception … and is only appropriate where (1) a second-filed

application issues prior to a first-filed application [and thus expires first], and (2)

the PTO is solely responsible for the delay in the issuance of the first-filed

application.” In re Janssen Biotech, Inc., 880 F.3d 1315, 1325 (Fed. Cir. 2018)

(quotations omitted). However, “if an applicant can file all of its claims in one

application, but elects not to, it is not entitled to the exception of the two-way test.”

In re Berg, 140 F.3d 1428, 1434 (Fed. Cir. 1998).




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             3.     Under Gilead and AbbVie, only expiration dates are relevant
                    to evaluating ODP between two post-URAA patents.

      Although issue dates (but not filing dates) were relevant before the URAA,

afterwards an earlier issue date lacks such relevance and can no longer avoid ODP.

As explained in Gilead, looking at which patent issued first “does not necessarily

work properly for patents to which the URAA applies, because there are now

instances … in which a patent that issues first does not expire first.” 753 F.3d at

1215. To determine whether one URAA patent qualifies as an ODP reference to

another, “comparison of [the] patent expiration dates [] should control.” Id.

      Gilead thus rejected the argument that a later-issued, earlier-expiring patent

could not be an ODP reference to an earlier-issued, later-expiring patent. Like

Allergan here, the patentee argued that its later-issued patent “in no way extends

the term of the exclusivity for” its earlier-issued patent. Id. at 1214. Yet this Court

saw “little import” to that chronology, which does not diminish “the public’s

freedom to use the invention claimed in a patent and all obvious modifications of it

after that patent expired.” Id. at 1214-15. This Court held that “an earlier-expiring

patent can qualify as an [ODP] reference for a later-expiring patent under the

circumstances here”—i.e., where the later-expiring patent issued first. Id. at 1217.

      This Court in AbbVie confirmed “a later-issued, but earlier-expiring patent

could qualify as a double patenting reference, and thus invalidate an earlier-issued,

but later expiring patent.” 764 F.3d at 1374. Under the URAA, ODP “continues to


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apply where two patents that claim the same invention have different expiration

dates” because “[p]atents claiming overlapping subject matter that were filed at the

same time still can have different patent terms due to examination delays at the

PTO.” Id. at 1373-74 (citing 35 U.S.C. § 154(b)). Thus, the test for ODP is

simple: “[I]f the later expiring patent is merely an obvious variation of an invention

disclosed and claimed in the reference patent, the later expiring patent is invalid for

[ODP].” Id. at 1379 (quotation, alterations omitted).

             4.     Breckenridge and Ezra define the only two narrow
                    exceptions to basing ODP on expiration dates.
      Since Gilead and AbbVie, this Court has recognized two narrow exceptions

to the rule that expiration governs ODP. Neither applies here.

      First, in Breckenridge, the Court considered the “narrow legal question” of

whether “a post-URAA patent that issues after and expires before a pre-URAA

patent qualify as a double patenting reference against the pre-URAA patent,” and

“conclude[d] under the circumstances of this case that it cannot.” 909 F.3d at

1361-62. Based on the “intervening change in law by Congress defining a patent’s

term,” the Court “appl[ied] the traditional [ODP] practices extant in the pre-URAA

era to the pre-URAA [] patent.” Id. at 1357-58. Holding otherwise would conflict

with “the URAA transition statute,” 35 U.S.C. § 154(c)(1), which provides that

patents filed before the URAA but issuing after have “the greater of” either patent

term under pre- and post-URAA regimes. Id. at 1366. This Court in Breckenridge


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made clear, however, that it “limit[ed] [its] opinion to the specific facts of th[at]

case.” Id. at 1366 n.3.

      Breckenridge’s “narrow” and “specific” exception does not apply here

because the challenged ’356 patent and the reference patents were all filed after the

URAA’s 1995 effective date. Appx14407; Appx4225. Breckenridge confirms that

where, as here, “both patents [a]re post-URAA,” Gilead applies and “the proper

reference point for an [ODP] inquiry is the expiration date of the patent in

question.” 909 F.3d at 1363-64; see also id. at 1358 (reaffirming that “expiration

date is the benchmark of [ODP]” post-URAA), 1363 (under URAA, “a patent that

issues after but expires before another patent can qualify as a [ODP] reference

against the earlier-issuing, but later-expiring patent”).

      Second, in Novartis AG v. Ezra Ventures LLC, the Court held that a patent

expiring later than another only because of patent term extension (“PTE”) under 35

U.S.C. § 156 is not subject to ODP because, under that provision, expiration for

ODP is calculated before applying PTE. 909 F.3d 1367, 1373-74 (Fed. Cir. 2018).

This Court relied on “the contrast between § 156 for PTE with the language of

§ 154 for [PTA],” which “expressly excludes patents in which a terminal

disclaimer was filed from the benefit of a term adjustment for PTO delays.” Id. at

1373 (quotation omitted) (citing 35 U.S.C. § 154(b)(2)(B)). Unlike PTA, PTE “is

not foreclosed by a terminal disclaimer,” and thus “if a patent is terminally


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disclaimed to another patent to overcome an [ODP] rejection and then term-

extended under § 156 …, it necessarily will expire after the patent to which it had

been subject to an [ODP] rejection.” Id. at 1374.

      The judgment here is consistent with Ezra because the district court relied

on the ’356 patent’s expiration date before applying PTE under § 156. Appx45

n.10; Br. 5, 44 n.10. Moreover, Ezra involved an ODP challenge to a pre-URAA

patent over a post-URAA patent “governed by different statutory patent term

regimes.” 909 F.3d at 1370. Like Breckenridge, Ezra reiterated that, “[i]n Gilead,

where the relevant patents were both post-URAA patents, this court found that a

patent that issues after, but expires before, another patent could qualify as a double

patenting reference for that other, later-expiring patent.” Id. at 1374.

      B.     In re Cellect confirms that an earlier-filed, earlier-issued patent
             that expires later because of PTA can be invalidated for ODP over
             a later-filed, later-issuing patent that did not receive PTA.
      After Ezra, arguably an open question was whether a patent expiring later

than a commonly held patent due solely to PTA under § 154(b) is subject to ODP.

This was the parties’ dispute before the district court here—Allergan argued PTA

should not result in ODP; Sun argued it should. Appx45-46. In re Cellect resolved

that question squarely in Sun’s favor: “ODP for a patent that has received PTA …

must be based on the expiration date of the patent after PTA has been added.” 81




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F.4th at 1229. That holding is dispositive and applies equally where, as here, the

challenged patent was filed and issued before the reference patents.

             1.    The Patent Office expressly found that an earlier-filed,
                   earlier-issued patent could be invalid for ODP.
      Allergan mischaracterizes In re Cellect as a “factually complex” case where

“[t]he Patent Trial and Appeal Board had found that the interplay of [a] complex

web of patents meant that none could extend past the term” of an earlier-expiring

family member. Br. 26. That is inaccurate. In re Cellect affirmed four separate

decisions, each involving a single challenged patent before the Board (81 F.4th at

1219)—not a “complex web.” This Court treated Appeal 2021-005302, which

invalidated U.S. Patent No. 6,424,369 (the “’369 patent”), “as representative” of

those decisions. Id. at 1219 n.1.

      In that representative case, the Board considered ODP rejections for certain

claims of the ’369 patent over two reference patents: U.S. Patent Nos. 6,862,036

(the “’036 patent”) and 6,452,626 (the “’626 patent”). Ex parte Cellect, Appeal

2021-005302, 2021 WL 5755327, at *1-2 (PTAB Dec. 1, 2021). Allergan

incorrectly states Cellect “never disputed that the reference patents could properly

serve as the basis for finding ODP.” Br. 28. But Cellect challenged both

references and succeeded in disqualifying the ’626 patent, which “cannot be used

as an [ODP] reference because the ’626 Patent expired after the ’369 Patent.” Ex

parte Cellect, 2021 WL 5755327, at *9, *10 n.6.


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      As to the ’036 patent, however, the Board found it was a proper ODP

reference because it “expired before the challenged [’369] patent.” Id. at *10 &

n.6. This was true even though the ’036 reference patent was both filed and issued

after the challenged ’369 patent, which expired later because of PTA. Id. at *10.

The Board illustrated this relationship in a “timeline [that] shows the relevant dates

for the two patents, including priority, filing, issuance, expiration, and PTA, with

the challenged patent on top and the ’036 patent below”:




Id.

      The Board deemed the ’369 patent the “later” patent—despite being filed

and issuing earlier—because of its later expiration. As the Board explained, while

“double patenting and the need for a terminal disclaimer generally only apply to

the later patent,” this begs the question of “how to determine which patent is

‘later.’” Id. at *3. Citing Breckenridge, the Board explained that “[t]he answer

depends on whether the patents issued from applications filed on or after” the


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URAA’s effective date: “For two post-URAA patents, the ‘later’ patent generally

is determined by looking at the expiration date.” Id. (citing Breckenridge, 909

F.3d at 1362-63, 1366).

      The only question this Court had not already addressed was whether the

expiration date for ODP purposes should be calculated before or after applying

PTA. Id. at *3. The Board concluded that the relevant date was after applying

PTA. Id. at *7. It noted that Ezra held “a terminal disclaimer applies before a

PTE,” and thus ODP “also should be considered before a PTE.” Id. at *4. But this

outcome was “based on the difference between § 156 and § 154,” which (unlike

§ 156) “is clear that any terminal disclaimer should be applied after any PTA.” Id.

at *5-6 (citing 35 U.S.C. § 154(b)(2)(B)). Because “terminal disclaimers arise

almost exclusively to overcome” ODP, “both [ODP] and terminal disclaimers

should be considered after any PTA.” Id. at *6-7. Applying that rule to the

earlier-filed ’369 patent, the Board found that, “after applying the PTA, [it] expired

after the ’036 patent due to the challenged patent having 45 days of PTA beyond

the expiration date of the ’036 patent,” and thus “the later-expiring claims of the

challenged patent were properly rejected for [ODP] over the earlier-expiring

claims of the ’036 patent.” Id. at *11.




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             2.     This Court affirmed the Patent Office’s decision and
                    rejected the patentee’s statutory and equitable arguments.

      Cellect appealed the Board’s decision invalidating the ’369 patent and

similar decisions for three other related patents to this Court, which affirmed all

four decisions. In re Cellect, 81 F.4th at 1219. Along with the patents in those

other decisions, this Court illustrated the relationship between the earlier-filed,

earlier-issued (but later-expiring) ’369 patent and the later-filed, later-issued (but

earlier-expiring) ’036 patent:




Id. at 1220 (annotated). This Court noted that the earlier-filed, earlier-issued “’369

patent claims were [] found to be unpatentable over the ’036 patent claims” and

that “all invalidated claims can be traced back to the single family member patent

that did not receive a grant of PTA: the ’036 patent.” Id.



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      This Court affirmed the Board’s decisions and held that “an ODP

determination depends on an assessment of obviousness, i.e., whether the claims of

a later-expiring patent would have been obvious over the claims of an earlier-

expiring patent owned by the same party. If so, absent a terminal disclaimer, the

later-expiring claims are invalid.” Id. at 1226 (emphasis added). The Court further

held this rule applies even where expiration dates differ due to PTA. Id. at 1226-

30. The Court thus rejected Cellect’s argument that it received no “improper

timewise extension of a patent term.” Id. at 1229. The Court held that “any

extension” of the challenged claims past the expiration of the ’036 patent (which

was patentably indistinct and received no PTA) “constitutes an inappropriate

timewise extension for the asserted claims of the challenged patents. To hold

otherwise would, in effect, confer on the reference claims of the ’036 patent PTA

to which they were not entitled.” Id. at 1229-30.

      The Court also rejected Cellect’s argument that a “statutorily mandated

extension, including PTA and PTE, cannot be cut short by a judge-made doctrine

like ODP.” Id. at 1227. This Court distinguished PTE under § 156, which does

not exclude terminally disclaimed patents, from PTA under § 154, which “have

quite distinct purposes.” Id. The Court found “nothing in the PTA statute to

suggest that application of ODP to the PTA-extended patent term would be

contrary to the congressional design.” Id. In fact, “the statutory recognition of the


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binding power of terminal disclaimers in § 154(b)(2)(B) is tantamount to a

statutory acknowledgement that ODP concerns can arise when PTA results in a

later-expiring claim that is patentably indistinct.” Id. at 1228.

      Lastly, the Court rejected Cellect’s argument that ODP should not apply

because it had “acted in good faith” and “did not engage in gamesmanship”:

“[G]ood faith during prosecution does not entitle [an applicant] to a patent term to

which it otherwise is not entitled,” and the “ability to show that it did not engage in

gamesmanship in obtaining a grant of PTA is not sufficient to overcome a finding

that it has received an unjust timewise extension of term.” Id. at 1230.

      On January 19, 2024, this Court denied Cellect’s petition for rehearing en

banc without dissent. In re Cellect, No. 22-1293, Dkt. 182 (Fed. Cir.).

      C.     The district court properly found ODP by applying this Court’s
             precedent to undisputed facts.
      This case is materially indistinguishable from In re Cellect and presents a

clear-cut application of Gilead and its progeny. Allergan does not dispute the

district court’s findings that (1) the ’356, ’011, and ’709 patents “are commonly

owned”; (2) the ’011 and ’709 patents expire on March 14, 2025; (3) the ’356

patent expires (with PTA) on June 24, 2026—later than the ’011 and ’709

patents—and (4) asserted claim 40 of the ’356 patent and certain claims of the ’011

and ’709 patents “are not patentably distinct from each other.” Appx44-45. These

undisputed facts are dispositive. Because “the later expiring patent [claim] is


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merely an obvious variation of an invention disclosed and claimed in the reference

patent[s], the later expiring patent [claim] is invalid for [ODP].” AbbVie, 764 F.3d

at 1379 (quotation, alterations omitted).

             1.     Allergan’s reliance on filing and issuance dates fails under
                    this Court’s case law, which focuses on expiration dates.

      Allergan seeks a new ODP exception for “first-filed, first-issued” patents,

arguing they can never be invalid for ODP “simply because a later-filed patent in

the same family has an earlier expiration date.” Br. 31. But Allergan’s novel

theory fails under Gilead and In re Cellect. Under Gilead, the only “date that

really matter[s]” is “patent expiration”—not filing or issuance—and thus “patent

expiration dates [] should control.” 753 F.3d at 1215. And In re Cellect

invalidated an earlier-filed, earlier-issued patent (the ’369 patent) over a later-filed,

later-issued patent in the same family (the ’036 patent). 81 F.4th at 1219-20.

There is no exception if the earlier-filed, earlier-issued patent happens to be the

first-filed, first-issued patent. Nor should there be.

      Allergan tries to distinguish In re Cellect because it did not involve the very

“first-filed, first-issued patent in the family” (Br. 27 (emphasis added)), but that is

immaterial. Allergan’s semantic argument about the “first” or “original” patent

term begs the question of which patent term is “first” and “original.” To the public

that is excluded from practicing an invention claimed by multiple patents, the

“first” and “original” term is whichever expires first. ODP bars “extension” of that


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term—here, the terms of the ’011 and ’709 patents, which are not entitled to PTA.

See Gilead, 753 F.3d at 1214 (ODP prevents a situation where “a patent expires

and the public is nevertheless barred from practicing obvious modifications of the

invention claimed in that patent because the inventor holds another later-expiring

patent”); In re Cellect, 81 F.4th at 1227 (rejecting patentee’s position because it

would “effectively extend the overall patent term awarded to a single invention …

by allowing patents subject to PTA to have a longer term than the reference

patent”); Ex parte Cellect, 2021 WL 5755327, at *3 (“the ‘later’ patent generally is

determined by looking at the expiration date”).

      Allergan’s arguments for exempting the “first” patent from ODP are the

same arguments this Court rejected in both Gilead and In re Cellect for exempting

other “earlier” patents. Allergan contends that “[t]he awarded term of a first-filed,

first-issued patent for an invention is not an extension of any other patent term”

because “[t]here is literally no previously claimed subject matter to ‘double

patent,’ nor any original monopoly to extend.” Br. 34; see also Br. 1, 12-14, 19,

31-38. Yet that is the same argument rejected in Gilead that an earlier patent “in

no way extends the term of the exclusivity for” a later patent. 753 F.3d at 1214.

As this Court explained, it is of “little import” that the challenged patent came

“first” if it “does not expire first.” Id. at 1214-15.




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      Similarly, despite Allergan’s assertion that Cellect “waived” Allergan’s

argument here (Br. 26), Cellect raised effectively the same objection by insisting it

did not receive an “improper timewise extension of a patent term” for its earlier-

filed, earlier-issued patent. In re Cellect, 81 F.4th at 1229. Again, this Court

rejected that argument because it “would, in effect, confer on the reference claims

of the [earlier-expiring] patent PTA to which they were not entitled.” Id. at 1229-

30. The same is true here.

      Allergan’s argument that it is not “possible to file a terminal disclaimer”

during prosecution when a later-filed “patent (or even a later-filed application)

does not yet exist” (Br. 13) is equally irrelevant. Allergan ignores that terminal

disclaimers are not limited to prosecution but can be filed at any time until the

reference patent expires, “even after a finding that the challenged patent is invalid

for [ODP].” Boehringer, 592 F.3d at 1347. Indeed, Allergan acknowledges it can

still “file a terminal disclaimer with respect to the ’356 patent.” Dkt. 4-1 at 3.

      Even if a terminal disclaimer were unavailable, that would not avoid ODP.

In In re Cellect, “no terminal disclaimer could be filed to cure the rejection since

the patents had expired,” yet that did not preclude ODP. 81 F.4th at 1221. As this

Court held, “ODP for a patent that has received PTA, regardless whether or not a

terminal disclaimer is required or has been filed, must be based on the expiration

date of the patent after PTA.” Id. at 1229 (emphasis added).


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      Instead of applying this central holding, Allergan focuses on dictum in In re

Cellect that “non-asserted claims in the challenged patents are entitled to their full

term, including the duly granted PTA, unless they are found to be later-filed

obvious variations of earlier-filed, commonly owned claims.” Br. 28 (quoting 81

F.4th at 1230) (emphasis altered). But Allergan ignores the next sentence: “We

have no basis for consideration of that issue here,” which confirms the preceding

sentence is dictum. In re Cellect, 81 F.4th at 1230. The Court appears to have

included this dictum in response to a colloquy at oral argument simply to clarify

that ODP applies on a claim-by-claim basis and does not invalidate unchallenged

claims. No. 22-1293, Oral Arg. 19:26-20:33.

      Moreover, Allergan ignores the statement earlier in the same paragraph that

patents generally expire “twenty years from the date on which the priority

application was filed.” In re Cellect, 81 F.4th at 1229 (emphasis added). Thus, the

dictum that unchallenged claims could be invalidated as “later-filed obvious

variations of earlier-filed, commonly owned claims” (id. at 1230) refers to effective

filing dates—i.e., priority dates governing expiration—not the filing dates of

continuations in the same family. Allergan’s reading of this dictum as prohibiting

ODP where the reference patent issues directly from a later-filed application

cannot be correct because it would contradict the holding of In re Cellect, which

did invalidate claims issuing from an earlier-filed application in the same family—


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and would conflict with Gilead’s holding that the only “date that really matter[s]”

is “patent expiration.” 753 F.3d at 1215.

      Allergan relies on another dictum that ODP “limits the term of a patent or, at

least, ties later-filed, commonly owned, obvious variations to the expiration date of

an earlier-filed reference patent.” Br. 28-29 (quoting In re Cellect, 81 F.4th at

1226). Allergan focuses on the “later-filed” and “earlier-filed” qualifiers in the

second part of the sentence but ignores that those qualifiers are preceded by “or, at

least,” which confirms ODP is not confined to “later-filed” variants of “earlier-

filed” claims but also “limits the term of a patent” in other situations, as stated in

the first clause. Id. (emphasis added).

      Allergan also relies (at 28-29) on a district court decision in Acadia

Pharmaceuticals Inc. v. Aurobindo Pharma Ltd., No. 20-985-GBW, 2023 WL

8622048 (D. Del. Dec. 13, 2023). Of course, that decision is not binding. And

Acadia’s statements about “earlier-filed” patents being somehow exempt from

ODP are mere dicta because the court had already found that the challenged patent

satisfied the safe harbor of 35 U.S.C. § 121 for divisional applications filed after a

restriction requirement. Id. at *6-7. The (erroneous) finding that an “earlier-filed,

earlier-issued” patent could not be invalid for ODP was made “[i]n the

[a]lternative.” Id. at *7. Regardless, the court cited no controlling caselaw and

acknowledged that In re Cellect “invalidated an earlier-filed patent.” Id.


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      Thus, there is no exception to ODP for “first-filed, first-issued” patents.

Because Allergan’s ’356 patent expires later than commonly owned patents

claiming obvious variants of claim 40, that claim is invalid for ODP.

             2.     Allergan’s statutory arguments lack merit and contradict
                    this Court’s precedent.

      Nothing in the Patent Act precludes this result. Allergan repeatedly argues

that ODP “cannot be invoked to truncate the statutorily guaranteed term” (e.g., Br.

1), but ODP always truncates a statutory term because all patent terms are set by

statute. For post-URAA patents like those here, the default term is 20 years from

the effective filing date. 35 U.S.C. § 154(a)(2). But if a patentee obtains multiple

patents with patentably indistinct claims that expire on different dates, that term

may be truncated. This is how ODP has always worked.

      Allergan alters a quote from Breckenridge to argue that this Court held

“ODP does not apply to ‘truncate the term statutorily assigned to the [earlier-filed,

earlier-issued] patent’” (Br. 39 (alteration Allergan’s)), but that mischaracterizes

this Court’s holding. The unaltered quote is that “a change in patent term law

should not truncate the term statutorily assigned to the pre-URAA ’772 patent.”

909 F.3d at 1358 (emphasis added). That narrow holding is irrelevant here: The

patents-at-issue are all post-URAA, and there is no “intervening change in law” or

“transition statute” to override ODP. Id. at 1357, 1366.




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      Allergan’s argument that § 154(b) overrides the “judge-made doctrine” of

ODP with “statutorily mandated” PTA (Br. 43) contradicts In re Cellect, which

rejected the same argument that a “statutorily mandated extension … cannot be cut

short by a judge-made doctrine like ODP.” 81 F.4th at 1227. There is “nothing in

the PTA statute to suggest that application of ODP to the PTA-extended patent

term would be contrary to the congressional design,” and the “binding power of

terminal disclaimers in § 154(b)(2)(B) is tantamount to a statutory

acknowledgement that ODP concerns can arise.” Id. at 1227-28. Likewise,

Allergan errs in arguing that § 154(b) categorically “guarantee[s]” “at least a 17-

year patent term.” Br. 41. Allergan ignores that the “patent term guarantees” in

§ 154(b)(1)(A)-(C) are “subject to the limitations under paragraph (2),” which

includes the “disclaimed term” under § 154(b)(2)(B).1

      The judgment here also comports with 35 U.S.C. § 120, which simply

authorizes continuation applications. Br. 35. To be sure, patentees can exercise

their option to file continuation applications. They can also obtain multiple,

patentably indistinct claims in either the same patent or patents that share the same



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  Allergan notes that an uncodified clause of the AIA directs the PTO to
“administer” 35 U.S.C. § 102(c) “in a manner consistent” with legislative history.
Br. 42 n.9. That is irrelevant. Section 102(c) governs common ownership under
joint-research agreements, not ODP. Regardless, the legislative history Allergan
quotes merely notes that first-issued patents may render later-issued patents
invalid. Br. 42. It does not say first-issued patents are immune from ODP.

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expiration date. Alternatively, patentees can obtain patents that expire on different

dates if their claims are patentably distinct. What a patentee cannot do, however,

is obtain multiple patents that claim the same invention (or an obvious variant) that

expire on different dates. This would violate “the public’s right to use” obvious

variants “claimed by an inventor when his patent expires.” Gilead, 753 F.3d at

1212. Nothing in § 120, § 154, or any other section of the Patent Act authorizes

that result. On the contrary, the Patent Act limits applicants to “a patent” per

invention. 35 U.S.C. § 101. Allergan’s statutory arguments thus fail.

             3.     Allergan’s equitable arguments lack merit and, regardless,
                    ODP would be proper even under a two-way test.

      Lastly, Allergan cannot avoid ODP by invoking amorphous “equitable

concerns,” its purported lack of “gamesmanship,” or its alleged conduct as “a

diligent applicant.” Br. 1, 10, 44-45. In re Cellect rejected the same arguments:

“good faith during prosecution does not entitle [an applicant] to a patent term to

which it otherwise is not entitled,” and lack of “gamesmanship in obtaining a grant

of PTA is not sufficient to overcome” ODP. 81 F.4th at 1230.

      Whether “a split in ownership” could occur (Br. 37) is also not dispositive.

There was no such risk in Gilead either: The patents there were “subject to a

common ownership requirement” and did “not involve the potential for harassment

by multiple assignees asserting essentially the same patented invention.” 753 F.3d




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at 1218-19, 1220 (Rader, J., dissenting). Yet that did not prevent this Court from

holding that the challenged patent was subject to ODP.

      At bottom, there is nothing inequitable about applying ODP here, where it is

undisputed that the patentee chose to obtain multiple patents with indistinct claims.

Appx44-45. This is a problem of Allergan’s own making. Had it simply confined

its claims to a single patent or drafted continuation applications with patentably

distinct claims, Allergan would be able to retain and enjoy the full statutory term of

the ’356 patent, including PTA. Instead, Allergan made a conscious choice at its

own peril, attempting to expand its patent rights by filing continuation applications

that issued with additional claims indistinct from those of the ’356 patent. Once

patents with those additional claims expire, this will end Allergan’s term for any

patent with indistinct claims, including the ’356 patent—regardless of when the

underlying application was filed or when that patent issued.

      Even if there were some equitable concern about invalidating an earlier-filed

patent, it would not preclude ODP—at most, it would trigger the two-way test

(supra 17), which would make no difference here. Allergan cites In re Braat to

argue that any extension of the ’356 patent’s term was not “unjustified” (Br. 46),

but Braat did not hold that equitable concerns immunize patents from ODP.

Rather, Braat held that the PTO should have applied, in that particular case, the




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“two-way” test for ODP, which requires the challenged and reference claims to be

patentably indistinct from each other. 937 F.2d 589, 594 (Fed. Cir. 1991).

      Here, Allergan waived any request to apply the two-way test because it did

not make that request before the district court or in its opening brief to this Court.

Moreover, the patentee here could have filed “all of its claims in one application,”

which means “it is not entitled to the exception of the two-way test.” Berg, 140

F.3d at 1434. Even if the two-way test applied, however, it would make no

difference because the district court found that the challenged and reference claims

“are not patentably distinct from each other.” Appx45 (emphasis added). Thus,

the district court’s findings satisfy both the default one-way test and the narrow

two-way exception for ODP, which moots any alleged equitable concerns.

Accordingly, this Court should affirm the judgment.

II.   Allergan fails to show clear error in the district court’s findings that the
      ’516 and ’179 patents’ representative claims lack written description.

      This Court should also affirm the judgment that the asserted formulation

claims are invalid for lacking written description, which turned on a fact-intensive

analysis of the specification. Despite its shotgun approach in alleging fault with

the district court’s findings, Allergan fails to show any legal or clear error.




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      A.     The written-description requirement prevents patentees from
             drafting overbroad claims to cover what they did not invent.

      The written-description requirement of 35 U.S.C. § 112 requires that the

specification “reasonably conveys to those skilled in the art that the inventor had

possession of the claimed subject matter as of the [patent’s] filing date.” Ariad,

598 F.3d at 1351. Section 112 “plays a vital role in curtailing claims … that have

not been invented, and thus cannot be described.” Id. at 1352. It “limits patent

protection to those who actually perform the difficult work of ‘invention’—that is,

conceive of the complete and final invention with all its claimed limitations—and

disclose the fruits of that effort to the public.” Id. at 1353. “[T]he purpose of the

written description requirement is to ensure that the scope of the right to exclude,

as set forth in the claims, does not overreach the scope of the inventor’s

contribution to the field of art as described in the patent specification.” Id. at 1353-

54 (quotation omitted). This is a “quid pro quo of the patent grant and ensures that

the public receives a meaningful disclosure in exchange for being excluded from

practicing an invention for a period of time.” Id. at 1354.

      Where a patentee claims an invention broadly, covering multiple

embodiments, the written-description requirement is not satisfied unless the

specification “sufficiently demonstrates that the inventors possessed the full scope

of the claimed invention.” Juno Therapeutics, Inc. v. Kite Pharma, Inc., 10 F.4th

1330, 1336 (Fed. Cir. 2021); see also id. at 1337 (holding claims invalid where


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specification “provides nothing to indicate that the inventors possessed the full

scope of the genus that they chose to claim”).

      This principle applies equally when a patentee broadens its claims by

omitting a limitation to cover a different invention than it described. For example,

in ICU Medical, the patentee initially obtained claims to medical valves

comprising a “spike.” 558 F.3d at 1374-75. It later obtained additional claims that

omitted the “spike” limitation, which this Court called “spikeless (or spike-

optional) claims.” Id. at 1372-73. This Court “refer[red] to these claims as

spikeless not because they exclude … a spike but rather because these claims do

not include a spike limitation—i.e., they do not require a spike.” Id. at 1377. The

“spikeless claims are broader than [the] spike claims because they do not include a

spike limitation” and therefore “cover[] those valves that operate with a spike and

those that operate without a spike.” Id. at 1378.

      This Court held that the broad, “spikeless” claims lacked written description

because “the specification describes only medical valves with spikes,” and a POSA

“would not understand the inventor of the [] patents to have invented a spikeless

medical valve,” which fell within the scope of the “spikeless” claims that covered

valves without spikes. Id.




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      B.     The record amply supports the district court’s factual findings
             that the representative claims lack written description.

      The facts here closely track ICU Medical. As explained above, Allergan

originally asserted patents whose claims required eluxadoline formulations with a

specific glidant, colloidal silica. But Allergan dismissed those patents on the eve

of trial. Appx4797-4800. The claims asserted at trial, which were prosecuted after

claim construction, removed any requirement for a glidant and are thus broad

enough to cover formulations without a glidant. Appx9223; Appx11593. The

record supports the district court’s factual findings that these broader, glidant-

optional claims lack written-description support.

      Citing both sides’ experts, the district court found that “[n]one of the

formulations disclosed in the patent specification of the asserted patents are made

without a glidant.” Appx16 (citing Appx5856-5857 (141:13-142:13)

(Gemeinhart), Appx6136 (421:1-18) (Berkland)). Instead, “[t]he patent

specification [] only discloses a relatively narrow group of eluxadoline

formulations,” and “[i]n each of those formulations, a glidant (e.g., colloidal silica)

is used.” Appx17 (citing Appx6136 (421:1-3) (Berkland), Appx5857 (142:3-9)

(Gemeinhart), Appx84-87 (’179 patent 11:23-12:3, 13:1-56, 16:10-17:40)).

      The district court made specific factual findings about how a POSA

reading the specification would understand its consistent use of a glidant. Citing

expert testimony, the district court found “[a] POSA would understand that in


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some cases a glidant may be necessary”; “a glidant would be used when it is

necessary”; and “[a] POSA would not understand that a glidant is, ‘by definition,’

an optional excipient.” Appx16 (citing Appx6301, Appx5962 (247:10-18)

(Gemeinhart), Appx6027 (312:5-9) (Gemeinhart)). Notably, the specification’s list

of “optionally include[d]” excipients does not include a glidant. Appx194 (12:33-

46); Appx5833-5835 (118:12-120:2) (Gemeinhart). And Allergan’s expert, Dr.

Berkland, agreed that “[e]very process description related to the claims …

include[s] a glidant.” Appx6146-6147 (431:25-432:4).

      The district court concluded that “the specification here fails to show that the

patentee was in possession of a formulation in which the inclusion of the glidant

was optional,” which is analogous to ICU Medical. Appx18. “Just as spikeless

claims in ICU Med[ical] lacked adequate written description because the

specification failed to disclose a spikeless valve, the asserted claims here lack

written description because the specification fails to disclose a formulation that

does not have a glidant or where a glidant would be understood as optional.”

Appx17-18. Allergan identifies no error in that conclusion.

             1.     Claim 26 is “glidant-optional” because it does not require a
                    glidant and thus covers formulations without a glidant.

      Allergan’s lead argument, which it limits to the ’516 patent, is that “[t]he

district court committed claim-construction error” because claim 26 “does not

include any ‘glidant-optional’ language” and thus “does not contain any limitation


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regarding the inclusion or not of glidants.” Br. 47-49 (brackets omitted). But this

argument lacks merit because the district court did not import any glidant-related

limitation, and it did not construe the claims any differently than Allergan. As

Allergan admits, the district court recognized that claim 26 “does ‘not list a glidant

as a limitation.’” Br. 48 (quoting Appx16).

      Allergan’s argument rests on a misunderstanding of “optional,” which the

district court used in the same way as in ICU Medical. There, this Court referred

to claims as “spikeless (or spike-optional),” “not because they exclude … a spike

but rather because these claims do not include a spike limitation.” 558 F.3d at

1372-73, 1377 (emphasis added). Just like claim 26 does not say anything about a

“glidant,” the “spike-optional” claims did not say anything about spikes. Thus,

they “cover[ed] those valves that operate with a spike and those that operate

without a spike.” Id. at 1378. Likewise, claim 26 is “glidant-optional” because it

covers formulations with or without a glidant.

      Allergan tries to distinguish claim 26 of the ’516 patent from claim 7 of the

’179 patent, which expressly states “a glidant and/or a lubricant” is “optionally”

included. Br. 8, 51 n.12. But Allergan waived any argument that these claims

differ in scope with respect to excluding a glidant by not raising this distinction at

trial, let alone before trial. While a footnote in its post-trial brief made a similar

point (Appx16107-16108 n.2), “arguments raised in footnotes are not preserved.”


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SmithKline Beecham Corp. v. Apotex Corp., 439 F.3d 1312, 1320 (Fed. Cir. 2006).

Indeed, the body of Allergan’s post-trial brief conceded—for both the ’516 and

’179 claims—that “[t]he only dispute for Sun is a narrow issue of fact: whether the

claimed invention requires a glidant such as colloidal silica.” Appx16113

(emphasis added). Allergan’s argument that the ’516 patent is exempt from this

factual inquiry is thus waived.

      Regardless, even assuming some theoretical difference between a

“comprising” claim that lacks a glidant limitation and one that expressly states a

glidant is “optional,” the district court’s findings apply equally to both: “The patent

specification does not disclose that the patentee possessed a formulation of

eluxadoline that either lacks a glidant or signaled to a POSA that the inclusion of a

glidant in those formulations is optional.” Appx17 (emphases added).

      Allergan gains no traction with its analogy to a patent “claiming a car

comprising a specific type of catalytic converter, [where] an inventor is not

claiming possession of a car without a steering wheel (and the specification need

not describe such a car).” Br. 49. Steering wheels are unrelated to how catalytic

converters work, and a patent for a catalytic converter presumably would not teach

a POSA that the invention requires a steering wheel. By contrast, here, a POSA

would understand a glidant is required. A better analogy is a patent for a catalytic

converter where the specification identifies a specific alloy as a required catalyst.


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If the patentee drafted claims reciting the converter’s components but omitted that

alloy, they would also lack written description.

       Allergan argues that the specification recites “the specified amounts” of

ingredients in claim 24 (Br. 50), but the passages Allergan cites expressly require a

glidant, which supports the district court’s findings: Allergan cites the formulation

at 11:21-12:2 (Appx194), which contains “a glidant” (Appx194 (11:44)), and the

formulation in Table 1 (Appx196), which also contains “[c]olloidal silica” as a

“[g]lidant” (id.).

       Allergan argues Dr. Gemeinhart admitted “a POSA reading the patent ‘could

pick out [claim 26’s] embodiment’” from a laundry list of ingredients (Br. 50

(quoting Appx5973-5974 (258:23-259:24)), but whether a POSA could “pick out”

the claim elements is not enough to satisfy § 112. Dr. Gemeinhart explained “that

section [of the specification], that embodiment, doesn’t describe why” or “how to

choose those excipients,” or whether those excipients would even “form[] a tablet.”

Appx5973 (258:10-19). Patentees “cannot disclose a forest … and then later pick

a tree out of the forest and say here is my invention. In order to satisfy the written

description requirement, the blaze marks directing the skilled artisan to that tree

must be in the originally filed disclosure.” Purdue Pharma L.P. v. Faulding Inc.,

230 F.3d 1320, 1326-27 (Fed. Cir. 2000). Here, Dr. Gemeinhart testified that a

POSA could potentially pick out “thousands” of combinations (Appx5828-5829


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(113:17-114:6)), but the specification does not “teach a POSA to actually pick that

specific combination [in claim 26] out of th[ose] thousands of combinations”

(Appx6028) (313:3-22)). And the specification stresses that “different

formulations” of eluxadoline “may have very different … properties.” Appx53

(1:41-50). Thus, the district court did not clearly err in finding the specification

fails to describe claim 26.

             2.     The district court properly relied on expert testimony about
                    how a POSA would understand the specification.

      Allergan also fails to show clear error in the district court’s reliance on

expert testimony to determine how a POSA would understand the specification.

Allergan raises this argument “for the first time on appeal” and, therefore, “the

issue is waived.” Aventis Pharma Deutschland GmbH v. Lupin, Ltd., 499 F.3d

1293, 1299 (Fed. Cir. 2007). Before the district court, Allergan argued the

opposite—insisting it was “wrong” to disparage expert testimony as mere

“extrinsic evidence” because this Court “has emphasized the importance of the

context of the existing knowledge for evaluating written description,” which must

be “judged from the perspective of one of ordinary skill in the art as of the relevant

filing date.” Appx16116 (quoting Immunex Corp. v. Sandoz Inc., 964 F.3d 1049,

1063 (Fed. Cir. 2020)). There is nothing wrong with crediting expert testimony

that the specification fails to describe the claims to a POSA. See Biogen, 18 F.4th




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at 1343 (affirming where “the district court credited [defendant]’s expert testimony

at trial” to find claims lacked written description).

      Allergan argues that reliance on expert testimony distinguishes this case

from ICU Medical, which “stands for the proposition that, where the specification

describes a structural component as necessary to the invention, there is no written

description for a claim without that structure.” Br. 56. But that is consistent with

the district court’s findings here: It repeatedly found that “the specification fails to

disclose a formulation that does not have a glidant or where a glidant would be

understood as optional,” and “the specification here fails to show that the patentee

was in possession” of such a formulation. Appx18 (emphasis added); see also

Appx16 (findings 7-9 all based on “the patent specification”).

      While ICU Medical did not cite trial testimony, that is because it was

decided on summary judgment. 558 F.3d at 1376. Nothing in ICU Medical

suggests there is any problem with considering expert testimony at trial, and this

Court credited expert testimony in an analogous case. In Tronzo v. Biomet, Inc.,

the defendant (Biomet) argued that the “specification describes only one cup—a

conical cup—and thus does not provide sufficient support for claims … which are

generic as to the shape of the cup.” 156 F.3d 1154, 1158 (Fed. Cir. 1998). This

Court agreed, crediting “relevant expert testimony of Biomet’s witness, Dr. Hill,

who testified that in his view as an orthopedic surgeon the [] patent disclosed only


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a trapezoidal cup and nothing more.” Id. at 1160. Likewise, the district court here

credited expert testimony that a formulator would read the patent as disclosing

only formulations with a glidant—and “a POSA would understand that using a

glidant in a formulation would be a signal that it was necessary in order to achieve

sufficient flow properties, unless noted otherwise.” Appx19.

       Allergan’s argument that the district court erred by considering whether a

glidant is “essential” (Br. 53) is waived because it also contradicts Allergan’s

arguments to the district court. In its post-trial brief, Allergan argued that the

validity of its claims turned on whether the glidant “colloidal silica is ‘essential’ or

‘critical’” (Appx16113-16114), and it conceded that if “the specification indicates

that a structure is essential or critical to the invention, there is a lack of written

description if the claims do not include a limitation directed to that structure”

(Appx16115). Allergan’s only argument to the district court was a factual one—

that “glidants were not essential to the claimed invention.” Id. Even now, on

appeal, Allergan cites In re Peters, 723 F.2d 891 (Fed. Cir. 1983), to argue that

claims may omit a feature the specification “does not describe … as essential or

critical to the invention.” Br. 57. The district court correctly distinguished Peters

on its facts because here a glidant is critical to the alleged invention “based on the

disclosure of the patent specification.” Appx21.




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      The case Allergan cites as prohibiting an “essential element” test, Cooper

Cameron Corp. v. Kvaerner Oilfield Products, Inc., 291 F.3d 1317 (Fed. Cir.

2002), is inapposite. In Cooper, the Court distinguished an earlier case that

“merely expounded upon the unremarkable proposition that a broad claim is

invalid when the entirety of the specification clearly indicates that the invention is

of a much narrower scope.” Id. at 1323. The issue in Cooper was whether figures

in the specification disclosed a disputed limitation, and this Court held they did.

Id. By contrast, here there is no described embodiment (in the figures or

elsewhere) without a glidant. Thus, the invention described in the specification is

narrower than the asserted claims, which do not require a glidant.

      Notably, Allergan does not dispute that “tablet compositions need ‘sufficient

flow characteristics’ to be manufactured properly” and that some tablet

compositions need a glidant. Br. 51. Nor does Allergan dispute that the claims

here expressly require a tablet. Br. 7-8. As Allergan acknowledges, expert

testimony supports these findings. Br. 51-52 (citing Appx5815-5816 (100:23-

101:04) (Gemeinhart)).

      Nevertheless, Allergan criticizes the district court’s “logic” because “[e]ven

if colloidal silica enhances flow, this does not mean that a particular formulation

would necessarily lack sufficient flow without it.” Br. 53. But Allergan cites no

support for this attorney argument, which mischaracterizes the district court’s


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findings. The district court did not find that all formulations need a glidant; it

acknowledged that “a glidant may not be required to produce all pharmaceutical

formulations.” Appx19. It simply found that in this case, “the specification here

fails to show that the patentee was in possession of a formulation in which the

inclusion of the glidant was optional.” Appx18.

      Allergan cites claim construction cases holding that preferred embodiments

do not limit the claims (Br. 53-55), but the district court did not limit the claims,

and it agreed that “patents are not limited to the specific embodiments disclosed in

the specification.” Appx18. The problem here is just the opposite: Allergan’s

claims are not limited to embodiments with a glidant. This case is similar to

Liebel-Flarsheim Co. v. Medrad, Inc., where the patentee “broadened its claims

during prosecution,” “argued for a broad meaning, and succeeded, but suffers a

Pyrrhic victory” because the broadened claims lacked § 112 support. 481 F.3d

1371, 1383 (Fed. Cir. 2007). To paraphrase the holding there: “The irony of this

situation is that [Allergan] successfully pressed to have its claims include a

[glidant]less [formulation], but, having won that battle, it then had to show that

such a claim was fully [described], a challenge it could not meet. The motto,

‘beware of what one asks for,’ might be applicable here.” Id. at 1380.




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             3.     The district court properly applied the burden of proof.

      Allergan’s argument that the district court “‘flipped’ the burden of proving

invalidity” (Br. 58) lacks merit. The district court explicitly recognized that

“patents are presumed valid, [and] a defendant bears the burden of proving

invalidity by clear and convincing evidence.” Appx13 (citation omitted). The

district court held Sun to this burden, finding that “Sun has shown by clear and

convincing evidence that the asserted claims … are invalid for lack of written

description.” Appx26. Nothing suggests otherwise.

      Allergan quotes the district court’s findings that “the specification makes no

disclosure about whether the use of a glidant is unimportant or just an optional

component” and that every embodiment recites a glidant “without any indication

that it was not required” (id. (quoting Appx21, Appx18)), but it ignores the context

of these findings, which the district court made to reject Allergan’s argument that a

glidant is “optional.” Appx18-20. “[E]xplaining why a party’s arguments are not

persuasive does not constitute improper burden shifting.” Ignite USA, LLC v.

CamelBak Prods., LLC, 709 F. App’x 1010, 1016 (Fed. Cir. 2017). Indeed, the

district court’s statements are similar to this Court’s statements in ICU Medical

rejecting similar arguments. 558 F.3d at 1375 (“The patents neither describe

piercing as optional nor describe any non-piercing item as a spike.”); id. at 1379

(patentee “failed to point to any disclosure in the patent specification that describes



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a spikeless valve”); id. (“It is not enough that it would have been obvious to a

person of ordinary skill that a [] seal could be used without a spike.”).

      The district court fully considered, and rejected, Allergan’s argument that

“the patent specification does not need to explicitly disclose that a glidant is

optional.” Appx18. Citing both sides’ experts, the district court found “a POSA

would understand that using a glidant in a formulation would be a signal that it was

necessary in order to achieve sufficient flow properties, unless noted otherwise.”

Appx19 (citing Appx6079-6080 (364:18-21, 365:5-8) (Berkland), Appx6027

(312:5-9) (Gemeinhart), Appx6298, Appx6301)). Allergan shows no clear error in

this case-specific finding about how a POSA would read the specification.

      Regardless, “any mischaracterization of the burden of proof in an opinion,

by itself, does not warrant reversal.” ISCO Int’l, Inc. v. Conductus, Inc., 123 F.

App’x 974, 977 (Fed. Cir. 2005). “This court hears appeals from judgments, not

from language used in justification of the judgment appealed from.” Pentec, Inc. v.

Graphic Controls Corp., 776 F.2d 309, 317 (Fed. Cir. 1985). Even assuming the

opinion here “misstates the law” (it does not), there is “sufficient evidence to

support the judgment.” Id.

             4.     The district court properly analyzed possession as a
                    question of written description, not enablement.

      In a final attempt to manufacture legal error, Allergan argues the district

court “conflated” written description and enablement because a single sentence


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states eluxadoline formulations without a glidant would not “work.” Br. 59. But

Allergan shows no error, much less harmful error, in that one word. The district

court explicitly distinguished between written description and enablement

(Appx12-13), and it repeatedly found the specification fails to show “possession,”

which is the standard for written description, not enablement. Appx17-18;

Appx24; Appx26; Ariad, 598 F.3d at 1351.

      The word “work” in a single sentence does not transform the district court’s

entire analysis into one of enablement. In ICU Medical, this Court also questioned

whether the invention could “possibly work without a spike.” 558 F.3d at 1375

n.4. Allergan described ICU Medical the same way in its post-trial brief, noting

that the invention there required a spike “to work.” Appx16115. Similarly, this

Court has analyzed whether a POSA “would [] have thought [a formulation] would

work” in invalidating claims for lacking written description. Nuvo Pharms.

(Ireland) Designated Activity Co. v. Dr. Reddy’s Labs. Inc., 923 F.3d 1368, 1381

(Fed. Cir. 2019). Allergan’s semantic argument thus fails.

             5.     Allergan fails to show any clear factual error.

      The rest of Allergan’s brief challenges the district court’s findings that the

specification fails to describe a formulation without a glidant. Br. 60-62. Allergan

does not dispute this is a pure question of fact reviewed for “clear error” (Br. 19,

60), which requires affirmance so long as “the trial court’s determination … is



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plausible in light of the entire record or where it chooses one of two permissible

views of the evidence.” Kao Corp. v. Unilever U.S., Inc., 441 F.3d 963, 967 (Fed.

Cir. 2006) (quotation omitted). “The burden of overcoming the district court’s

factual findings is, as it should be, a heavy one.” Merck Sharp & Dohme Corp. v.

Hospira, Inc., 874 F.3d 724, 728 (Fed. Cir. 2017) (citing Polaroid Corp. v.

Eastman Kodak Co., 789 F.2d 1556, 1559 (Fed. Cir. 1986)).

      Notably, Allergan does not—because it cannot—cite any example in the

specification of a formulation without a glidant. Instead, it cites boilerplate

language about combining eluxadoline with excipients in general, suggesting this

broad disclosure provides sufficient written description. But “a description that

merely renders the invention obvious does not satisfy the [written-description]

requirement.” Ariad, 598 F.3d at 1352. The district court did not clearly err in

finding these generic disclosures fail to provide “[a] precise definition of the

invention [that] is pivotal to establishing possession.” Biogen, 18 F.4th at 1342

(emphasis added).

                    a.     The “Summary of Disclosure” does not provide
                           written-description support.
      First, Allergan argues that the “Summary of Disclosure” at columns 4-5

teaches that a “tablet formulation can be composed of eluxadoline and just one (or

more) of a total of five ‘inert ingredient[s] selected from’” a group including a

glidant. Br. 60 (citing Appx190-191 (4:01-5:27). But the district court found this


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disclosure “just outlines the basic idea to create a formulation of eluxadoline with

some combination of excipients in some proportions,” and a POSA would not read

it as “demonstrat[ing] possession of a formulation where a glidant is optional or

not included.” Appx25-26. The district court cited expert testimony supporting

this factual finding, which is not clearly erroneous. Id.

      Dr. Berkland contradicted Allergan’s interpretation of this passage as

describing an eluxadoline formulation with only one excipient, let alone the

formulation in the asserted claims. Instead, he agreed “[i]t would make sense to a

POSA to have more than one inert ingredient to achieve the goals of the patent”;

these “disclosures don’t say whether all of the ingredients that are listed need to be

used or some are optional”; and the claimed “amounts do not appear here.”

Appx6158 (443:3-20); see also Appx6155-6157. Similarly, Dr. Gemeinhart

opined that this language “doesn’t give clear information of how you would create

a formulation” and does not show that the inventors “possessed” any specific

formulation. Appx5828-5830 (113:9-115:6). As Dr. Gemeinhart explained, “that

section [of the specification], that embodiment, doesn’t describe why” or “how to

choose those excipients,” or whether those excipients would even “form[] a tablet.”

Appx5973 (258:10-19).

      Allergan cites Dr. Gemeinhart’s view that “this ‘broad disclosure’ includes

‘hundreds or thousands of formulations’” (Br. 60), but this confirms the absence of


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written description. The specification fails to “teach a POSA to actually pick [the

claimed] combination out of th[ose] thousands of combinations.” Appx6028

(313:3-22) (Gemeinhart). See Purdue, 230 F.3d at 1326-27.

                    b.     The “preformulation” disclosure does not provide
                           written-description support.

      Second, Allergan cites an even more generic “preformulation” mixture that

vaguely includes “one or more pharmaceutical excipients.” Br. 60-61 (citing

Appx194 (12:47-54)). Again, the district court rejected “Allergan’s interpretation

of this paragraph[,] [which] implies that because the paragraph states the invention

in the broadest possible terms, that is, eluxadoline and any possible combination of

excipients, the paragraph provides written description for any formulation that is

more than pure eluxadoline.” Appx24. Instead, “[t]his paragraph just outlines the

basic idea of mixing eluxadoline with excipients and then subdividing the mixture

into dosage amounts in some form.” Id. Expert testimony supports this finding,

which is not clearly erroneous. Appx5942-5943 (227:15-228:15) (Gemeinhart)

(characterizing passage as “very general description”)).

      Allergan argues that because glidants keep formulations homogenous and

the specification discloses “a solid preformulation composition containing, in

preferred embodiments, a homogeneous mixture,” this means a glidant is merely

“preferred,” and therefore optional. Br. 61. But this argument is waived and

contradicts Allergan’s representation to the district court that the “invention


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formulation is … the ingredients mixed together homogenously.” Appx5751

(36:13-16). Indeed, the next sentence of the specification explains that, by

“‘homogeneous,’ it is meant that the active ingredient is dispersed evenly

throughout the composition so that the composition may be readily subdivided into

equally effective unit dosage forms such as tablets or capsules.” Appx194 (12:54-

59) (emphasis added). The asserted claims here do not cover any composition but

are expressly limited to “tablets.” Br. 7-8. Thus, as Allergan admitted, the only

embodiments Allergan claimed were “homogenous formulations.” Appx4273.

      Allergan argues Dr. Gemeinhart “admitted” a glidant is optional in this

“preformulation” section (Br. 61), which mischaracterizes his testimony and

ignores his opinion that “preformulation” refers to an early development phase

where excipients are screened for compatibility with the active ingredient.

Appx6024-6025 (309:18-310:9). Dr. Gemeinhart never admitted a glidant is

“optional” in the claimed final tablet.

      The patentee in ICU Medical made a similar argument, contending “the

specification discloses a preslit [] seal” that a POSA “would recognize” allows the

invention to work without a spike. 558 F.3d at 1378. This Court rejected that

argument because “[i]t is not enough that it would have been obvious to a [POSA]

that a preslit [] seal could be used without a spike.” Id. at 1379. The district court

here similarly found that “[a]t most, this paragraph may render making a


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formulation without a glidant obvious,” which “does not satisfy the [written-

description] requirement.” Appx24 (citing Ariad, 598 F.3d at 1352).

                   c.      The original claims do not provide written-
                           description support.
      Third, Allergan cites claims 1, 5, and 6 in the priority application for the

’179 and ’516 patents, which generically recited eluxadoline and “an inert

ingredient selected from” a group including colloidal silica. Br. 61; Appx11835.

But this argument is waived because Allergan never relied on the original claims

for written-description support before the district court. Aventis, 499 F.3d at 1299.

Regardless, this essentially is the same flawed argument as the “Summary of

Disclosure” argument addressed above at pages 53-55.

      Allergan’s argument ignores that the examiner rejected the original claims

as obvious. Appx12002-12004. The patentee never traversed that rejection but

instead canceled the claims and replaced them with new claims requiring colloidal

silica. Appx12059-12062. Thus, the prosecution history confirms that the only

alleged invention a POSA would believe the inventors possessed was a formulation

with a glidant. See also LizardTech, Inc. v. Earth Resource Mapping, Inc., 424

F.3d 1336, 1346 (Fed. Cir. 2005) (rejecting patentee’s argument that challenged

claim was “part of the original disclosure”).

      Thus, Allergan fails to show any clear, harmful error in the district court’s

factual findings, which this Court should affirm.


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III.   Multiple alternative grounds support the district court’s judgment on
       the formulation patents.

       “Appellees always have the right to assert alternative grounds for affirming

the judgment that are supported by the record.” MEHL/Biophile Int’l Corp. v.

Milgraum, 192 F.3d 1362, 1366 (Fed. Cir. 1999). So long as an alternative ground

“would not enlarge the judgment,” this Court can affirm based on that ground even

if the district court rejected or did not reach it. Qualcomm Inc. v. Broadcom Corp.,

548 F.3d 1004, 1023 (Fed. Cir. 2008). A judgment of invalidity is “a complete

defense to infringement for any product, forever,” so alternative grounds for

affirmance include defenses that are equal or narrower in scope, like “additional

claims for invalidity or [] claims of non-infringement.” TypeRight Keyboard Corp.

v. Microsoft Corp., 374 F.3d 1151, 1157 (Fed. Cir. 2004).

       A.    The judgment is independently supported by the inventor’s
             testimony that he did not invent a glidant-free formulation.
       Although the district court did not rely on it, the inventor’s testimony

supports the judgment by showing he did not invent—and thus could not possess

or describe—eluxadoline compositions without a glidant.

       The first-listed inventor of the formulation patents, and the only inventor

Allergan made available, is Dr. Costello (Appx74; Appx184), who “was essentially

the director of the development” for Allergan’s eluxadoline product and “was

involved from the outset” (Appx5772 (57:9-14); Appx5764-5765 (49:25-50:2)).



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Dr. Costello admitted he is not “aware of any eluxadoline formulations that [he]

invented but are not included in the claims of the ’587 patent” (Appx5797-5798

(82:22-83:3)), an earlier-issued patent whose claims all required colloidal silica

(Appx230-231 (33:62-36:49)). Dr. Costello further admitted he did not invent

successful eluxadoline compositions without the specific combination of SMCC,

colloidal silica, mannitol, crospovidone, and magnesium stearate (Appx5798

(83:17-20)), and he could not “remember” compositions without colloidal silica at

all (Appx5799 (84:11-13)).

      These admissions go to the heart of the written-description requirement,

which “plays a vital role in curtailing claims … that have not been invented, and

thus cannot be described.” Ariad, 598 F.3d at 1352. Dr. Costello, “by definition,

could not have possession of, and disclose, the subject matter of [an invention] that

did not even exist,” Chiron Corp. v. Genentech, Inc., 363 F.3d 1247, 1255 (Fed.

Cir. 2004), because “one cannot describe what one has not conceived,” Fiers v.

Revel, 984 F.2d 1164, 1171 (Fed. Cir. 1993). Thus, Dr. Costello’s “inventor

testimony … illuminates the absence of critical description in this case,” Nuvo, 923

F.3d at 1381, which is an independent basis to affirm. See New Railhead Mfg.,

L.L.C. v. Vermeer Mfg. Co., 298 F.3d 1290, 1295 (Fed. Cir. 2002) (affirming

judgment of no written description that “relied in particular on the admissions in

the deposition testimony of [the inventor]”).


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       B.     The judgment is independently supported by unclean hands.

       Allergan also has unclean hands in prosecuting and asserting claims after

claim construction to cover Sun’s product that the inventor did not invent, which

precludes Allergan from asserting those claims against Sun. The Court may find

unclean hands whenever a plaintiff’s misconduct “has immediate and necessary

relation to the equity that he seeks in respect of the matter in litigation,” i.e., “for

such violations of conscience as in some measure affect the equitable relations

between the parties in respect of something brought before the court.” Keystone

Driller Co. v. Gen. Excavator Co., 290 U.S. 240, 245 (1933).

       Sun pleaded an affirmative defense that “Plaintiffs’ claims are barred in

whole or in part by the doctrine of unclean hands and bad faith.” Appx3542.

Among other things, Sun alleged “Dr. Tim Costello … confirmed that he never

invented any eluxadoline composition that did not include colloidal silica,” yet

“Plaintiffs drafted claims … that do not explicitly require colloidal silica in an

improper attempt to cover Sun’s ANDA Product Formulation, which Plaintiffs did

not invent.” Appx3543-3544.

       Although Allergan persuaded the district court to strike Sun’s affirmative

defense, it never analyzed that defense under the relevant standard. Instead,

Allergan focused on dismissing Sun’s counterclaim of unclean hands by arguing it

required Sun to prove a protective-order violation—i.e., misusing confidential



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information about Sun’s product. Appx16780. The district court agreed with

Allergan and not only dismissed Sun’s counterclaim, but struck Sun’s affirmative

defense of unclean hands on the same basis, without any substantively different

analysis. Appx16783. Striking Sun’s affirmative defense on the same basis as its

counterclaim was a mistake that contradicted the district court’s earlier and

unchallenged recognition that “[t]he pleading standard for an affirmative defense is

less demanding than that of a claim or counterclaim,” and “affirmative defenses

‘need not be plausible to survive’ under Rule 8(c).” Appx16769. Thus, even

assuming Sun’s counterclaim required proving a protective-order violation, Sun’s

affirmative defense was broader and not limited to those facts.

      While Sun’s affirmative defense also referenced “confidential information,”

it separately alleged that the inventor did not invent eluxadoline compositions

lacking a glidant (Appx3543), which does not depend on any protective-order

violation. And while a patentee is generally free to draft claims covering a

competitor’s product that the patentee invented, allowing Allergan to assert claims

to cover Sun’s product that Allergan knows the inventor never invented cannot be

an equitable result. Thus, Allergan’s unclean hands is an independent (and

narrower) basis to affirm the judgment—or, at a minimum, for remanding to the

district court to substantively consider this defense.




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      C.     The district court did not consider Sun’s obviousness defense.

      Finally, Sun raised an alternative invalidity defense—obviousness—which

the district court did not address because it found the claims invalid for lacking

written description. Appx44. Even if Allergan could show any harmful error (it

cannot), the appropriate remedy would be to remand for the district court to

consider obviousness. See Green Edge Enters., LLC v. Rubber Mulch Etc., LLC,

620 F.3d 1287, 1298-99 (Fed. Cir. 2010) (remanding where “the district court did

not address [defendant’s] obviousness assertions”).

                                  CONCLUSION

      The judgment should be affirmed.

                                               Respectfully submitted,

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January 29, 2024




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                         CERTIFICATE OF COMPLIANCE

      1.    This brief complies with the type-volume limitation of Federal Rule of

Appellate Procedure 32(b)(1) because it contains 13,978 words, excluding the parts

of the brief exempted by Federal Rule of Appellate Procedure 32(f) and Federal

Circuit Rule 32(b)(2).

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